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                                                               February 9, 2023

 VIA ECF

 Honorable Ona T. Wang
 United States Magistrate Judge
 Daniel Patrick Moynihan
 United States Courthouse
 500 Pearl Street
 New York, NY 10007-1312

                       Re:   Adam Potter v. Beacon Intercontinental Group, Inc., et al.
                             Case No. 1:20-cv-04599-JGK-OTW

 Dear Judge Wang:

         This firm is newly retained counsel for defendants/counterclaim plaintiffs Beacon
 Intercontinental Group, Inc., and Business Insurance Holdings, Inc. (“Defendants”). On behalf of
 Defendants and plaintiff/counterclaim defendant Adam Potter (“Plaintiff”), I write to request a
 seven-day extension of the date by which Defendants and Plaintiff must file their respective letters
 in response to this Court’s Order dated February 6, 2023 (ECF 144) (the “Feb. 6 Order”). Pursuant
 to the Feb. 6 Order, counsel for Defendants and counsel for Plaintiff must file their respective
 letters by February 10, 2023. Accordingly, we request that the deadline to file the letters be
 extended to February 17, 2023.

          Counsel for Plaintiff joins in and consents to this joint request for an extension. This is the
 first request for an extension of the deadline to file the letters required by the Feb. 6 Order.

                                                               Respectfully submitted,

                                                               /s/Scott D. Woller
                                                               Scott D. Woller


 cc: All Counsel of Record (via ECF)




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